Case 3:17-cv-02641-AET Document 59 Filed 05/13/19 Page 1 RECEIVED

IN THE UNITED STATES DISTRICT COURT
FOR THE THIRD CIRCUIT MAY 13 2019

 

United States of America : ae sumbers oH SDI
Civil Action No. 17-2641 000 PSM MSDS.
Vs _ Criminal Case No. 3:12-CR-204-01 (MLC)

C. Tate George,
(Petitioner)

PETITIONER'S MOTION TO EXPEDITE
PETITIONER'S CLAIMS (GROUNDS)
OF 2255 HABEAS CORPUS FILING
AND 2241 AMENDED MOTION
FILING TRANSFER TO THE COURT
UNDER RULE 4.1 MOTIONS TO EXPEDITE
NOW before the Court, Petitioner C. Tate George's pro se Motion to Compel

the Court to Expedite a Ruling on his case for relief requested in his pending
§2255 petition as well as; recent 2241 filing that was transfer by the sister
Third Circuit Court, concerning that this Court issued a Show Cause Order on
April 5th, 2019 that states the following:

“Ordered that the United States should respond to the
Motion to (Amended) within 30 days of this Order."

The Government, as of this Motion has once again refused to comply with
the Court Order (this being at least the forth court order purposely missed).
The Government's lack of follow-through and total disregard for the Rules of
the Fed.R. of Proc. and in violation under Rule 5. Such violation is causing
the Court to violate Petitioner's Procedural and Constitutional Rights and under
Rule of Law, Rule 1: Scope and Purpose, it states:

The Rules govern the Procedure in all civil actions and proceedings in
the United States District Court, except as stated in Rule 81. They should be
constructed, administered and employed by the Court and the parties to "secure
the just, speedy and inexpensive determination of every action and proceeding."
(History: )(Amended April 29, 2015)(eff. Dec 1, 2015).

Under Rule 4.1 Motions to expedite the Rule states:

A party who seeks to expedite a case must file a motion within 14 days
after the opening of the case or issue now pending (occurrence) that the exceptional

1
Case 3:17-cv-02641-AET Document 59 Filed 05/13/19 Page 2 of 5 PagelD: 1063

reason that warrants expedition. Additionally, a Response to the Motion, if
any, must be filed by the Government (in this case) within 7 days after service
of the Motion docketed. And any reply within 3 days after service of the Response
unless otherwise directed by the Court or Clerk in the manner provided by L.A.R.
27.7.

It is without question the Court issued a Show Cause Order on April 5,
2019, as per Rule 5(A), Answer and Reply, where the Rule states, "The Respondent
is not required to answer the petition UNLESS a Judge so orders. The Order gives
the Government until May 6th, 2019 at the latest to Answer the Order, in which
the Government failed to do yet again.

Petitioner seeks relief (of Immediate Release from incarceration) and cites
Case law under (Urbina v. Thomas), 270 F.3d 292 (2001, CAG KY), where the Court
found that, when the Government had not fully addressed (or raised claims of
refute), then the Government waives (waived) to the extent Petitioner challenges
fact(s) (all or in part) concerning the duration of his confinement. The Government's
avoidance is not unintentional when determining not to address false claims
proffered at sentencing of Petitioner's loss calculation and hardship victims
never proven, nor followed under Rule §3664 (18 USC) where the Rule states:

Pursuant to 18 USC §3664, the probation officer shall conduct an investigation
into loss for restitution purposes. In addition, the Probation Officer (not
the Government) shall prepare a complete accounting of each of the victims losses
to assist in the preparation of the accounting, the Probation Officer is required
to provide notice to each of the victims and afford them an opportunity to submit
affidavits detailing their losses. 18 USC §3664(d)(2), and subparagraph (IV).
This sadly did not occur.

In fact, the Government states as a fact and rule that Petitioner did not
need to be sentenced on accurate information. These claims are not supported
by case law:

(U.S. v. Katora), 981 F.2d (Dec. 7, 1992) 1398, 1992 US Appx. LEXIS
32052 (3rd Cir), found that Petitioner's rights are seriously violated
concerning due process right under the Fifth Amendment Fair Trial

Right and Sixth Amendment Right to be Sentenced on Accurate Information.
Furthering, in (U.S. v. Antonucci), 667 Fed.Appx. 121, 2016 US App.
LEXIS 11396. District Court determined that it is plain error when

the Government adopted a methodology that is statistical extrapolation
for how it reached its figure of loss calculation and substantive
illegal anhancements.
Case 3:17-cv-02641-AET Document 59 Filed 05/13/19 Page 3 of 5 PagelD: 1064

Lastly, multiple courts have concluded with the following findings:

The Circuit Court erred by including the wrong loss amount causing a loss
Calculation which imposed a sentence that was prejudicial. The error was not
harmless and on Remand, the Government was restricted in its ability to present
New evidence of loss. U.S. v. Brown, (2nd Cir.) 709 Fed. Appx. 103, 2018 US
App. LEXIS 1943, Jan. 26, 2018, and U.S. v. Schaefer, 291 F.3d 932, 2002 US
Appx. LEXIS 9975 (May 28, 2002){7th Cir.)

Beyond charts created for trial (also used for sentencing) by the Government
and harmful agents inadmissible hearsay testimony, that the Government admitted
that the charts were not fully correct and there were no certified bank records
used for either trial or post-trial proceedings, (in addition to one (1) victim's
false claim of loss for $90,000.00) the Government provides no further support
for the claim of loss at sentencing. This scant documentation and illegal hearsay
testimony provides no support for a conclusion that Petitioner was entitled
to an illegal 9 year prison term. The Government plainly failed to show that
Petitioner's conviction was warranted of such a loss amount of $2.5 million
and the documentation before the District Court was insufficient and should
be remanded back for re-sentencing. (See U.S. v. Gammage, 580 F.3d 777, 779
(8th Cir. 2009).

Wherefore, the Petitioner, C. Tate George, pro se, hereby respectfully
requests that this Honorable Court to enter a Ruling in this Instant Matter
and to GRANT (both) Petitioner's 2255 Habeas Corpus filing to overturn Petitioner's
conviction; and also Petitioner's 2241 (Transfer Modified Motion) of material
facts pertaining to illegal (unproven) sentencing enhancements now no longer
in dispute by way of waiver by the Government's refusal to address the Court's
most recent Show Cause Order dated April 5th, 2019, and ORDER AN IMMEDIATE RELEASE
from custody. Even at the appropriate level of Guideline Level 23 (the Range
would be) of 47 - 57 months; Petitioner, at the time of filing this motion before
the Court is now outliving his correct (what should have been) incarceration
of 60 plus months and counting; and for such other and further relief deemed
Proper and necessary in the interest of Justice.

  

POT SS LSCI Allenwood
PO Box 1000
= thite deer, PA 17887

3
Case 3:17-cv-02641-AET Document 59 Filed 05/13/19 Page 4 of 5 PagelD: 1065

AFFIDAVIT
I HEREBY CERTIFY that the foregoing facts are true and correct to the
best of my knowledge and belief upon pain of ey er 28. §1746.

ile (faeg

—<— George, pro se

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the following motion to Expedite Petitioner's
Claims (Grounds) of 2255 Habeas Corpus Filing and 2241 Amended Motion was
mailed on this : day of , 2019, by first class mail, postage
Prepaid to: Zack Intrader, AUSA, Office of the US AE 970 Broad Street,

Rm 700, Newark, NJ 07102.

V4 (fo

G. Gate George, p

 
Case 3:17-cv-02641-AET Document 59 Filed 05/13/19 Page 5 of 5 PagelD: 1066

 

 

wodiesiianihden ( Abd ese [| (2 322 2050

 

 

; Wy cow
FEDERAL CORRECTIONAL COMPLEX-ALLENWOOD._© =~ _ OS MAY PALA PES L
PO. BOX__(D@0 __
WHITE DEER, PA 17887
—_—
<963223-0502
Judge Anne Thompson

402 E State ST
Trenton, NJ 08608

United States

Ady: Clee at (de Guat
